                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

CARPENTERS PENSION TRUST FUND                     )
OF KANSAS CITY, a Trust Fund, et al.,             )
                                                  )
         Plaintiffs,                              )
                                                  )
         v.                                       )    No. 4:19-CV-00003-DGK
                                                  )
ACCURATE INDUSTRIAL                               )
CONSTRUCTION,                                     )
                                                  )
         Defendant.                               )

                                     SHOW CAUSE ORDER

         This case arises out of alleged violations of the Employee Retirement Income Security Act

(“ERISA”), 29 U.S.C. § 1132 and 29 U.S.C. § 1145 for unpaid fringe benefit contributions.

         Plaintiffs filed their lawsuit on January 2, 2019, and on January 31, 2019, served Defendant

with process (Docs. 1 & 4). Defendant’s answer became due February 21, 2019. See Fed. R. Civ.

P. 12(a). Defendant failed to answer or otherwise respond to the complaint. On March 8, 2019,

Plaintiffs moved for default judgment. Pursuant to Federal Rule of Civil Procedure 55(a), the

Clerk of Court entered a clerk’s default.

         Defendant is directed to show cause in writing within 21 days of the date of this Order why

default judgment should not be entered against it pursuant to Federal Rule of Civil Procedure

55(b).

         IT IS SO ORDERED.

Dated: March 8, 2019                                    /s/ Greg Kays
                                                       GREG KAYS, JUDGE
                                                       UNITED STATES DISTRICT COURT




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